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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


  GENERAL ACCESS SOLUTIONS, LTD.,

                 Plaintiff,

         v.

  CELLCO PARTNERSHIP D/B/A VERIZON
  WIRELESS, VERIZON SERVICES CORP.,                           C.A. No. 2:22-394-JRG
  VERIZON BUSINESS GLOBAL LLC,
  VERIZON BUSINESS NETWORK                                 JURY TRIAL DEMANDED
  SERVICES LLC, VERIZON CORPORATE
  SERVICES GROUP INC., VERIZON DATA
  SERVICES LLC, and VERIZON ONLINE
  LLC,

                 Defendants,

  ERICSSON, INC.,

                 Intervenor-Defendant.


                  DEFENDANTS’ NOTICE PURSUANT TO 35 U.S.C. § 282

        Pursuant to 35 U.S.C. § 282(c), Defendants Cellco Partnership d/b/a Verizon Wireless,

 Verizon Services Corp., Verizon Business Global LLC, Verizon Business Network Services LLC,

 Verizon Corporate Services Group Inc., Verizon Data Services LLC, and Verizon Online LLC

 (collectively, “Verizon”) and Intervenor-Defendant Ericsson, Inc. (“Ericsson”) provide this notice

 (the “Section 282 Notice”) to Plaintiff General Access Solutions, Ltd. of patents, publications,

 other prior art, and witnesses upon which Verizon and Ericsson may rely to establish the invalidity

 and the state of the art as to U.S. Patent Nos. 7,230,931 (the “’931 patent”) and 9,426,794 (the

 “’794 patent”) (together, the “Asserted Patents”).



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        Verizon and Ericsson have already provided the requisite notice through the pleadings and

 documents filed or served over the course of this litigation, including but not limited to its answer

 to the complaint, initial disclosures, invalidity contentions, expert reports, discovery responses,

 fact and expert depositions, trial exhibit lists, trial witness lists, and all documents cited or relied

 upon therein (collectively, the “Prior Notice”). These pleadings and documents comprising the

 Prior Notice include the information that Section 282 requires with respect to the patents,

 publications, other prior art, and witnesses upon which Verizon and Ericsson intend to rely to

 establish the invalidity and the state of the art as to the asserted claims of the Asserted Patents.

 Verizon and Ericsson therefore incorporate by reference that Prior Notice into this Section 282

 Notice as if fully set forth herein. For the same reason, Verizon and Ericsson incorporate by

 reference into this Section 282 Notice all prior art cited or otherwise contained in the prosecution

 records of the applications that issued as the Asserted Patents, as well as any related applications

 that were filed in the United States or world.

        In addition, Verizon and Ericsson identify the following patents, publications, other prior

 art, and trial witnesses who may testify in connection with Verizon and Ericsson’s contentions as

 to invalidity of the Asserted Patents.

 I.     Prior Art

        A.      Patents, Patent Publications, or Patent Applications

                       Patent / Publication /              Date Filed /          Name of Patentee /
      Country
                          Application No.               Published / Issued          Applicant
        U.S.         U.S. Patent No. 5,838,674          November 17, 1998            Forssén
        U.S.         U.S. Patent Publication No.        February 21, 2002           Toshimitsu
                           2002/0021684
        U.S.         U.S. Patent No. 10,820,312          October 27, 2020            Struhsaker
        U.S.         U.S. Patent No. 9,379,916             June 28, 2016             Struhsaker
        U.S.         U.S. Patent No. 6,094,421           January 21, 1997               Scott
        U.S.         U.S. Patent No. 6,470,177           October 22, 2002          Andersson et al.
        U.S.         U.S. Patent No. 7,366,133            April 29, 2008                Ahy

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                 Patent / Publication /            Date Filed /      Name of Patentee /
    Country
                    Application No.             Published / Issued      Applicant
      U.S.      U.S. Provisional App. No.        January 19, 2001       Struhsaker
                       60/262,698
      U.S.      U.S. Provisional App. No.        January 19, 2001        Struhsaker
                       60/262,708
      U.S.      U.S. Provisional App. No.        January 19, 2001        Struhsaker
                       60/262,712
      U.S.      U.S. Provisional App. No.        January 19, 2001        Struhsaker
                       60/262,824
      U.S.      U.S. Provisional App. No.        January 19, 2001        Struhsaker
                       60/262,825
      U.S.      U.S. Provisional App. No.        January 19, 2001        Struhsaker
                       60/262,826
      U.S.      U.S. Provisional App. No.        January 19, 2001        Struhsaker
                       60/262,827
      U.S.      U.S. Provisional App. No.        January 19, 2001        Struhsaker
                       60/262,951
      U.S.      U.S. Provisional App. No.        January 19, 2001        Struhsaker
                       60/262,955
      U.S.      U.S. Provisional App. No.        January 19, 2001        Struhsaker
                       60/263,097
      U.S.      U.S. Provisional App. No.        January 19, 2001        Struhsaker
                       60/263,101
      U.S.      U.S. Provisional App. No.       February 21, 2001        Struhsaker
                       60/270,378
      U.S.      U.S. Provisional App. No.       February 21, 2001        Struhsaker
                       60/270,385
      U.S.      U.S. Provisional App. No.         March 5, 2001          Struhsaker
                       60/270,430
      U.S.      U.S. Provisional App. No.         March 5, 2001          Struhsaker
                       60/273,579
      U.S.      U.S. Provisional App. No.         March 5, 2001          Struhsaker
                       60/273,757
      U.S.        U.S. Patent Appl. No.          October 31, 2007        Struhsaker
                       11/982,424
      U.S.        U.S. Patent Appl. No.           April 20, 2001         Struhsaker
                       09/839,499
      U.S.      U.S. Patent No. 7,346,347        March 18, 2008          Struhsaker
      U.S.      U.S. Patent No. 6,374,078        April 16, 2002           Williams
      U.S.        U.S. Patent Appl. No.          August 6, 2012          Struhsaker
                       13/567,978
      U.S.      U.S. Patent No. 9,225,555       December 29, 2015        Struhsaker
      U.S.      U.S. Patent No. 6,122,260       September 19, 2000           Liu
      U.S.      U.S. Patent No. 6,496,535       December 17, 2002            Xu


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                         Patent / Publication /                   Date Filed /             Name of Patentee /
       Country
                            Application No.                    Published / Issued             Applicant
         U.S.           U.S. Patent No. 6,304,560               October 16, 2001             Archambaud

          B.      Other Prior Art

       System, Publication, or Other
                                                         Bates Beg                          Bates End
                  Document
            Navini Ripwave System                        n/a                                n/a
               MobileStar System                         n/a                                n/a
              IEEE 802.11 (1999)                    VZNGAS1004777                      VZNGAS1005304
             IEEE 802.11a (1999)                    VZNGAS1005305                      VZNGAS1005394
             IEEE 802.11b (1999)                    VZNGAS1005395                      VZNGAS1005490
          “Performance analysis of an
          adaptive OFDM packet data
      system,” Proceedings of the 2000
       International Zurich Seminar on
         Broadband Communications,
       February 15–17, 2000 (“Baum”)
     11/1999 U. Vornefeld et al., SDMA              VZNGAS0002232                      VZNGAS0002237
        Techniques for Wireless ATM,
      IEEE Communications Magazine
               52 (“Vornefeld”)1
        SkyFire Beam Forming/Smart                      GA0014070                          GA0014074
             Antenna White Paper
     AT&T_RAZE_TECH_081902.ppt                          GA0014998                          GA0015055
       Raze Technologies – Electronic                   GA0000393                          GA0000408
            Assembly Manufacturer
        Qualification Profile Template
      Raze Technologies – MMDS and                      GA0006246                          GA0006256
     UNII Antenna Specifications (Raze
               PN: 11-00000145)
         Raze Technologies – SkyFire                    GA0002404                          GA0002408
       System & Advanced Processing
                   Overview
             Response to Clearwire                      GA0004639                          GA0004735
           Technologies’ Request for
      Information For Fixed Broadband
     Wireless Access Systems Operating
        in the ITFS/MMDS Frequency
                     Band


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   Per with the Sotera stipulation in connection with IPR2023-00978, Verizon (and Ericsson) will not rely on Vornefeld
 to prove that the ’931 Patent is invalid as obvious. However, Verizon and Ericsson reserve the right to rely on
 Vornefeld to the extent necessary to establish the state of the art relevant to their other invalidity defenses or
 ineligibility contentions.

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     System, Publication, or Other
                                             Bates Beg          Bates End
                 Document
        WestEnd BroadBand – Air             GA0005411          GA0005498
          Interface Specification
     WestEndBroadBand – Business            GA0087213          GA0087272
        Plan …Bandwidth changes
                 everything
  WestEndBroadBand – Air Interface          GA0133336          GA0133423
                Specification
     Raze Technologies – Unlicensed         GA0007976          GA0008003
    Informational Infrastructure Band
       Radio Specification 1/2/2001
         Raze Technologies - Paul           GA0003374          GA0003374
        Struhsaker Weekly Report
                 3/23/2001
   IEEE 802.16.3c-01/31r1 (March 6,         GA0004868          GA0004892
                    2001)
  Arunabha Ghosh, Jun Zhang,             VZNGAS_003001920   VZNGAS_003002308
  Jeffrey G. Andrews, and Rias
  Muhamed, Fundamentals of LTE,
  (Pearson Education, 2010)
  https://www.3gpp.org/dynareport/
  Meetings-R1.htm (last accessed
  Feb. 6, 2024)
  https://www.3gpp.org/specification
  s-groups/specifications-groups (last
          accessed Feb. 6, 2024)
  http://www.3gpp.org/technologies/      VZNGAS_003001901   VZNGAS_003001902
  keywords-acronyms/
  104-w-cdma (last accessed January
                  18, 2020)
  http://www.3gpp.org/technologies/
  keywords-acronyms/104-w-cdma
  (last accessed January 18, 2020)
  https://www.ieee802.org/16/tg1/ind     VZNGAS_003002308   VZNGAS_003002312
                   ex.html
      https://ieee802.org/16/arc/802-    VZNGAS_003002385   VZNGAS_003002386
          16list2/msg00338.html
  https://www.ieee802.org/16/tge/ind     VZNGAS_003002313   VZNGAS_003002384
                   ex.html
  Jeffrey G. Andrews, Arunabha           VZNGAS_003001430   VZNGAS_003001900
  Ghosh, and Rias Muhamed,
  Fundamentals of WiMAX
   Understanding broadband wireless
     networking, (Pearson Education
                    2007)

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    System, Publication, or Other
                                             Bates Beg          Bates End
               Document
  R1-051290, R1-051568, R1-
  060755, R1-061099, R1-061641,
  R1-062448, R1-063013, R1-
  063613, R1-070633, R1-071245w,
  R1-071768, R1-072001, R1-
  072646, R1-073815, R1-073896
            LTE Rel 8 2009
            LTE Rel 10 2011
            LTE Rel 11 2013
            LTE Rel 13 2016
     What Will 5G Be?, Jeffrey G.        VZNGAS_003001903   VZNGAS_003001919
     Andrews, Stefano Buzzi, Wan
      Choi, Stephen Hanly, Angel
     Lozano, Anthony C.K. Soong,
    Jianzhong Charlie Zhang, IEEE
       JSAC Special Issue on 5G
  Wireless Communication Systems,
         pp. 1-6, May 12, 2014
          The History of WiFi,            VZNGAS0003182      VZNGAS0003216
  https://getvoip.com/history-of-wifi/
    “Definitions,” 1999 MobileStar        VZNGAS0000455      VZNGAS0000455
              Web Archive
       Navini 3/9/01 Presentation         GRABNER0000174     GRABNER0000268
     Navini Ripwave CPE Pictures          GRABNER0000353     GRABNER0000355
   SuperComm Tradeshow Pictures           GRABNER0000356     GRABNER0000359
           Sprint Trial Picture           GRABNER0000360     GRABNER0000360
           Navini CPE Picture             GRABNER0000173     GRABNER0000173
        SuperComm Trip Report               GA0053007          GA0053011
           SuperComm Article             VZNGAS_003000336   VZNGAS_003000337
          Product Trial Results           GRABNER0000002     GRABNER0000086
        Telecom Trends Article              GA0054347          GA0054374
      Ripwave Base Station (RBS)          GRABNER0000001     GRABNER0000001
        Theodore S. Rappaport,           VZNGAS_003002406
               WIRELESS
        COMMUNICATIONS:
   PRINCIPLES AND PRACTICE,
           ch. 8 (2d ed. 1996)
   Technology Architecture Product       GRABNER0000269     GRABNER0000351
               Sprint Trial
   Adaptive Antennas for GSM and           ERICSSON-          ERICSSON-
       TDMA Systems by Soren             GAS(VZ)00076575    GAS(VZ)00076587
   Anderson, Bo Hagerman, Henrik


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     System, Publication, or Other
                                            Bates Beg         Bates End
                Document
  Dam, Ulf Forssen, Jonas Karlsson,
  Fedric Kronestedt, and Sara Mazur
    Adaptive Antennas in Frequency         ERICSSON-         ERICSSON-
        Hopping GSM by Fredric           GAS(VZ)00076565   GAS(VZ)00076569
    Kronestedt and Soren Andersson
      Adaptive Antenna Arrays for          ERICSSON-         ERICSSON-
  GSM900/DCS1800 by Ulf Forssen,         GAS(VZ)00076555   GAS(VZ)00076559
  Jonas Karlsson, Bjorn Johannisson,
    Magnus Almgren, Fredrik Lotse
         and Fredric Kronestedt
       Antenna Arrays for TDMA             ERICSSON-         ERICSSON-
   Personal Communication Systems        GAS(VZ)00076570   GAS(VZ)00076574
  by Ulf Forssen, Fredric Kronestedt,
   Jonas Karlsson, Magnus Almgren,
           and Soren Anderson
    Migration of Adaptive Antennas         ERICSSON-         ERICSSON-
   Into Existing Networks by Fredric     GAS(VZ)00076560   GAS(VZ)00076564
    Kronestedt and Soren Andersson
    Radio Network Performance for          ERICSSON-         ERICSSON-
   Indoor Cellular System by Fredric     GAS(VZ)00076550   GAS(VZ)00076554
      Kronestedt, Manus Frodigh,
            Kenneth Wallstedt
    Hesse, B., RBS 2000 – The new          ERICSSON-         ERICSSON-
  generation of GSM 900, DCS 1800        GAS(VZ)01051483   GAS(VZ)1051670
        and PCS 1900 radio base
   stations, 73 ERICSSON REVIEW
     136, No. 4 1996 at 138 (1996),
  https://www.ericsson.com/4ac5c2/a
  ssets/local/about-ericsson/ericsson-
            history/lmereview/
       documents/da2011-35597-
  ericsson_review_vol_73_1996.pdf
  Reissue Application Declaration By       ERICSSON-         ERICSSON-
               the Assignee              GAS(VZ)01035988   GAS(VZ)01035991
     Attorney Docket No. WEST14-           ERICSSON-         ERICSSON-
         00148: In the Claims:…          GAS(VZ)01035995   GAS(VZ)01036002
     Attorney Docket No. WEST14-           ERICSSON-         ERICSSON-
         00148: In the Claims:…          GAS(VZ)01036153   GAS(VZ)01036160
        Office Action Summary –            ERICSSON-         ERICSSON-
         Applicant: P. Struhsaker        GAS(VZ)01036027   GAS(VZ)01036052
    Ericsson Internal Implementation       ERICSSON-         ERICSSON-
         Description 11.22.2023          GAS(VZ)01035364   GAS(VZ)01035546
          Competitive Analysis             GA0057088         GA0057125
            Raze Presentation              GA0014998         GA0015055

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    System, Publication, or Other
                                           Bates Beg          Bates End
               Document
  802.16.3 Full IEEE Interim Session      GA0134463          GA0134467
            March 11-15 2002
    802.16a IEEE Interim meeting          GA0135310          GA0135315
                  notes
                 Follow                   GA0043602          GA0043604
   on Standards Activities for IEEE
                 802.16a
         Clearwire RFI Response           GA0004639          GA0004735
   Alamouti, S. M. 1998. “A simple      VZNGAS1009674      VZNGAS1009681
      transmit diversity scheme for
       wireless communications.”
   P. W. Wolniansky, G. J. Foschini,   VZNGAS_003003046   VZNGAS_003003051
         G. D. Golden and R. A.
       Valenzuela, “V-BLAST: An
    Architecture for Realizing Very
    High Data Rates Over the Rich-
     Scattering Wireless Channel,”
    1998 URSI Int’l Symposium on
   Signals, Systems, and Electronics
         IEEE 802.16.3c-01/31r1           GA0004868          GA0004937
     802.16a Enhancement Ad Hoc           GA0043582          GA0043585
           Report 11 July 2002
             SkyBeam Paper                GA0014070          GA0014098
       802.16.3 Full IEEE Interim         GA0134463          GA0134467
        Session March 11-15 2002
           Raze Device Photo              GA0117792          GA0117792
          Raze Roadshow Slides            GA0037389          GA0037393
    March 23, 2001 Weekly Report          GA0003374          GA0003374
   February 23, 2002 Weekly Report        GA0039969          GA0039969
    March 23, 2002 Weekly Report          GA0040066          GA0040067
     April 26, 2002 Weekly Report         GA0014775          GA0014775
   Raze Technologies - Statement of       GA0014343          GA0014346
         Work For Anntron, Inc.
  Multi-Beam Antenna Development          GA0014349          GA0014351
       Status Report January 2002
  RFM Digital Hardware Verification       GA0065290          GA0065294
          To Do List 06/26/2002
     Weekly Report – Kirk Griffin         GA0014246,         GA0014247;
         03/30/2001; 07/27/2001;          GA0003965,         GA0003966;
         09/21/2001; 11/09/2001           GA0004286,         GA0004287;
                                          GA0004591          GA0004599
     MobileStar Internet Archive        VZNGAS0000434      VZNGAS0000434
     MobileStar Internet Archive        VZNGAS0000436      VZNGAS0000437

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    System, Publication, or Other
                                            Bates Beg          Bates End
               Document
      MobileStar Internet Archive        VZNGAS0000441      VZNGAS0000441
      MobileStar Internet Archive        VZNGAS0000439      VZNGAS0000439
   Information week, “Clear signals     VZNGAS_003000005   VZNGAS_003000008
  for wireless LANs,” Oct. 11, 1999
       Business Wire “MobileStar        VZNGAS_003000046   VZNGAS_003000047
  Network Adds 50th Public Access
          Hotel,” Nov. 8, 1998
               WSJ Article               VZNGAS0000044      VZNGAS0000046
     Dallas Morning News, “Texas        VZNGAS_003000247   VZNGAS_003000248
    Firm Installing Wireless Internet
  Service in 3,000 Starbucks Cafes”
              Feb. 20, 2001
  Marketing Computers, “MobileStar      VZNGAS_003000209   VZNGAS_003000210
   to Land in Starbucks,” Mar. 2001
   The Wall Street Journal, “IBM to     VZNGAS_003000175   VZNGAS_003000175
  Install MobileStar Access Points,”
              Apr. 12, 2001
    Network’s Broadband Wireless        VZNGAS_003000176   VZNGAS_003000176
     Internet Service To the Test at
  Vortex 2000 Conference,” May 24,
                  2000
     American Airlines Agreement         MSGAS_0002274      MSGAS_0002291
          dated Apr. 17, 1998
    Hilton Agreement dated Oct. 8,       MSGAS_0002292      MSGAS_0002316
                  1998
  American Airlines Letter of Intent     MSGAS_0002317      MSGAS_0002321
           dated Jan. 27, 1998
   SABRE Group Agreement dated           MSGAS_0002322      MSGAS_0002354
              Dec. 31, 1997
  Sheraton Agreement dated Feb. 1,       MSGAS_0002355      MSGAS_0002374
                  1998
        Holiday Hospitality Pre-         MSGAS_0002375      MSGAS_0002383
        Commercial Service PAL
     Agreement dated Apr. 7, 1998
  Starbucks Master Agreement dated       MSGAS_0002384      MSGAS_0002459
              Dec. 20, 2000
     March 9, 2001 Weekly Report           GA0041218          GA0041221
   Presentation to IBM Technology        MSGAS_0000192      MSGAS_0000258
       Board dated May 31, 2000
              Brenner 1996               VZNGAS0002621      VZNGAS0002644
      MobileStar Business Diaries        MSGAS_0000377      MSGAS_0002273
        Mobile Star Service and          MSGAS_0000167      MSGAS_0000183
        Opportunity Description

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    System, Publication, or Other
                                                Bates Beg                   Bates End
              Document
   ARINC Press Release dated July            MSGAS_0000001              MSGAS_0000003
               20, 2000
      August 2000 Press Release              MSGAS_0000053              MSGAS_0000054
       Mobile Star Service and               MSGAS_0000167              MSGAS_0000183
       Opportunity Description
         MobileStar Summary                  MSGAS_0000259              MSGAS_0000333
  1998 Internet Archive, “What is the        VZNGAS0000442              VZNGAS0000453
        MobileStar Network?”
            Foschini 1998                   VZNGAS_003003046          VZNGAS_003003051
  Raze Two-Tier Architecture White             GA0040938                 GA0040955
                 Paper

 II.    Persons To Be Identified Under 35 U.S.C. § 282(c)

              Name                                          Address
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          Mark Goode                     3015 Chadbourne Rd., Shaker Heights, OH 44120
        Jeffrey Andrews                        805 Columbus St., Austin, TX 78704
       Frederic Kronestedt              Torshamnsgatan 21 Kista Stockholm 164 83 Sweden


                                               ***

        Verizon and Ericsson reserve the right to supplement or to modify this Section 282 Notice

 through and including the time of trial.




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  Dated: May 24, 2024                By: /s/ Katherine Q. Dominguez
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                                         Katherine Q. Dominguez
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                                            Jeffery S. Becker (TX Bar No. 24069354)
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                                            melissa.muenks@bakerbotts.com

                                            Attorneys for Ericsson




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                                CERTIFICATE OF SERVICE

        I hereby certify that on May 24, 2024, the foregoing was served upon all counsel of record

 who have consented to electronic service.


                                                    /s/ Katherine Q. Dominguez
                                                    Katherine Q. Dominguez




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